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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


ATLANTIC RECORDING
CORPORATION, LAFACE
RECORDS LLC, SONY MUSIC
ENTERTAINMENT, UMG
RECORDINGS, INC., WARNER                    Civil Action No.
BROS. RECORDS INC., ARISTA                  1:17-CV-00431-AT
MUSIC, ARISTA RECORDS LLC,
BAD BOY RECORDS LLC,
CAPITOL RECORDS, LLC,
ELEKTRA ENTERTAINMENT
GROUP INC., ROC-A-FELLA
RECORDS, LLC, SONY MUSIC
ENTERTAINMENT US LATIN LLC,
and ZOMBA RECORDING LLC,

    Plaintiffs,


    v.

SPINRILLA, LLC and JEFFERY
DYLAN COPELAND,

    Defendants.


                              ORDER
        Case 1:17-cv-00431-AT Document 202 Filed 04/17/18 Page 2 of 2




      Upon consideration of the Parties’ Joint Motion for Leave to File Documents

Under Seal [Doc. 189], the Court hereby GRANTS the Motion. The following

documents shall be filed under seal:

      (1) excerpts of the December 7, 2017 report of Defendants’ expert, Dr. John

Strawn, Ph.D. (attached as Exhibit 3 to the March 7, 2018 Declaration of Kenneth

L. Doroshow);

      (2) an unredacted version of Plaintiffs’ Motion to Strike Defendants Untimely

and Overlength Summary Judgment Reply Brief and, in the Alternative, for Leave

to File a Surreply; and

      (2) an unredacted version of Plaintiffs’ Proposed Surreply In Further

Opposition to Defendants’ First Motion for Summary Judgment.



SO ORDERED this 17th day of April, 2018.


                                                  ____________________
                                                  Hon. Amy Totenberg
                                                  United States District Judge




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